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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         April 25, 2022

Clerk - Middle District of Florida
U.S. District Court
401 W CENTRAL BLVD
ORLANDO, FL 32801

Appeal Number: 22-10486-J
Case Style: Vinodh Raghubir v. Bonnie Parrish, et al
District Court Docket No: 6:20-cv-01883-GKS-GJK

The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

Any pending motions are now rendered moot in light of the attached order.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Davina C Burney-Smith, J
Phone #: (404) 335-6183

Enclosure(s)




                                                               DIS-2 Letter and Entry of Dismissal
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                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                       ______________

                                       No. 22-10486-J
                                       ______________

VINODH RAGHUBIR,

                                                 Plaintiff - Appellant,

ALL U.S. CITIZENS WITHIN 11TH CIRCUIT BOUNDARIES,

                                                  Plaintiff,

versus

BONNIE JEAN PARRISH,
Florida Attorney General's Office,
ORANGE COUNTY CLERK,
5TH DCA,
WENDY BERGER,
USDC Orlando,
G. KENDALL SHARP,
USDC Orlando, et al.,

                                           Defendants - Appellees.
                     __________________________________________


                        Appeal from the United States District Court
                             for the Middle District of Florida
                     __________________________________________

ORDER: Pursuant to the 11th Cir. R. 42-1(b), this appeal is DISMISSED for want of
prosecution because the appellant Vinodh Raghubir failed to comply with the rules on
Certificates of Interested Persons and Corporate Disclosure Statements. See 11th Cir. Rules
26.1-1 through 26.1-4.

Effective April 25, 2022.

                                       DAVID J. SMITH
                            Clerk of Court of the United States Court
                               of Appeals for the Eleventh Circuit
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                                             FOR THE COURT - BY DIRECTION
